Case 2:05-CV-02423-SHI\/|-tmp Document 3 Filed 06/10/05 Page 1 of 2 Page|D 3

 

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Appellant,
v. cIvIL No. 05-2423-Ma/1=

GEORGE E. MILLS, JR.,
Appellees.

Bankruptcy No. 97-35255-L Adversary No. 04-00335

 

ORDER SETTING SCHEDULING IN
BANKRUPTCY APPEAL

 

The above-referenced matter was docketed in this court on
June 1, 2005. Pursuant to Bankruptcy Rule 8009(a), the following
schedule shall be followed:

1. The appellant shall serve and file a brief within
15 days of the entry of this Order.

2. The appellee shall serve and file a response brief
within 15 days of the service of appellant's brief.
If a cross-appeal is filed, the brief on the
cross-appeal shall contain the issues and arguments
pertinent to the cross-appeal and be so designated.

3. The appellant may serve and file a reply brief
within 10 days of the service of appellee's brief.

4. If appellee has filed a cross-appeal, the appellee
may file and serve a reply brief to appellant's
response within 10 days after the service of the
reply brief of the appellant.

No further briefs shall be filed without leave of Court.
Entered this 10“‘day of June, 2005.

ROBERT R. Di TROLIO, CLERK

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Deputy Clerk

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 3 in
case 2:05-CV-02423 Was distributed by faX, mail, or direct printing on
June 10, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

